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     [Counsel on signature page]
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 8                               UNITED STATES DISTRICT COURT

 9                          NORTHERN DISTRICT OF CALIFORNIA

10                                  SAN FRANCISCO DIVISION

11
     IN RE OPENAI CHATGPT LITIGATION             Master File No. 3:23-cv-03223-AMO
12
     This document relates to:                   JOINT STIPULATION AND [PROPOSED]
13
     Case No. 3:23-cv-03223-AMO                  ORDER RE EXTENSION OF TIME TO
14   Case No. 4:23-cv-03416-AMO                  PROVIDE HIT REPORTS
     Case No. 4:23-cv-04625-AMO
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28                                                                3:23-cv-03223-AMO
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 1          Pursuant to Northern District of California Local Rule 6-2 and 7-12, the parties in the

 2   above-captioned action hereby stipulate and agree as follows:

 3          WHEREAS, on December 20, 2024, the Court issued an Order (ECF No. 240) regarding

 4   the Parties’ Joint Discovery Brief at ECF No. 212.

 5          WHEREAS, pursuant to paragraph 4(b) of the Court’s December 20, 2024 Order, the

 6   deadline for Plaintiffs to provide hit counts for the mutually agreeable search terms proposed by

 7   OpenAI is January 7, 2025 and the deadline to meet and confer and bring any remaining disputes

 8   related to the Joint Discovery Brief at ECF No. 212 is January 14, 2025.

 9          WHEREAS, the Parties met and conferred regarding running mutually agreed upon

10   search terms on January 3, 2025, and Plaintiffs provided their agreed upon search terms and

11   counter proposals to OpenAI on January 6, 2025.

12          WHEREAS, Plaintiffs’ counsel provided OpenAI with hit-count reports pursuant to the

13   December 20, 2024 Order for four of the twelve Plaintiffs by January 7, 2025 (Plaintiffs Sarah

14   Silverman, Richard Kadrey, Paul Tremblay, and Christopher Golden).

15          WHEREAS, Plaintiffs’ counsel supplemented the hit-report provided for Plaintiff

16   Tremblay on January 8, 2025 by adding agreed search terms and hit counts that were omitted

17   from the version sent to OpenAI on January 7, 2025.

18          WHEREAS, the remaining eight Plaintiffs have represented that their ESI vendor

19   encountered technical issues in running the search terms and interruptions to their operations

20   due to the current wildfire emergencies in California.

21          WHEREAS, Plaintiffs have represented that their Counsel and their ESI vendor are

22   actively engaged in the process of running the mutually agreeable search terms proposed by

23   OpenAI, but require a five-day extension to provide the hit counts. Plaintiffs will provide the

24   balance of their hit reports to OpenAI as soon as they become available.

25          NOW, THEREFORE, the parties, through their undersigned counsel, hereby stipulate

26   and agree that, subject to the approval of the Court:

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 1         1. Plaintiffs are to provide the hit counts to counsel for OpenAI pursuant to the

 2             December 20, 2024 Order as they become available and by no later than January 14,

 3             2025;

 4         2. By entering into this stipulation, the parties do not waive their right to address any

 5             substantive issues related to the timing and provision of search terms and hit counts,

 6             including the right to raise such issues in any brief submitted to the Court pursuant

 7             to the Court’s Order at ECF No. 240.

 8         IT IS SO STIPULATED

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10   PURSUANT TO STIPULATION, IT IS SO ORDERED.

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12   Dated: ____________________                         ______________________________
                                                         Honorable Robert M. Illman
13                                                       United States District Judge
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 2   DATED: January 15, 2025                 Respectfully submitted,

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 1               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

 2          I hereby attest that I obtained concurrence in the filing of this document from each of the

 3   other signatories. I declare under penalty of perjury that the foregoing is true and correct.

 4
      Dated: January 15, 2025
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 6
                                                        /s/    Bryan L. Clobes
 7
                                                        One of the Attorneys for Plaintiffs
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